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                          UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION


UNITED STATES OF AMERICA

               Plaintiff,

v.                                                      CASE NUMBER:           3:16-00162


JAMES C. MCWHORTER

               Defendant.
                                   /

                                          APPEARANCE

To the Clerk of this court and all parties of record:

         I, the below-signed, state that I have read the Standards for Professional Conduct within
the Seventh Federal Judicial Circuit pursuant to N.D. Ind. L.R. 83.5(g) and appendix B-65-B-70
of this Court and will faithfully adhere to them. I declare under penalty of perjury that the foregoing
is true and correct.

        Enter my appearance as counsel in this case for James C. McWhorter.

Dated: August 11, 2016

                                                    Northern District of Indiana
                                                    Federal Community Defenders, Inc.


                                                    By: s/ Peter L. Boyles
                                                      Peter L. Boyles, Staff Attorney
                                                      227 S. Main Street, Suite 100
                                                      South Bend, IN 46601
                                                      Phone: (574) 245-7393
                                                      Fax: (574) 245-7394
                                                      eMail: peter_boyles@fd.org
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                               CERTIFICATE OF SERVICE

      I hereby certify that on August 11, 2016 I electronically filed the foregoing with the Clerk

of the Court using the CM/ECF system.



                                                    /s/ Peter L. Boyles
                                                    Peter L. Boyles, Staff Attorney
                                                    Northern District of Indiana
                                                    Federal Community Defenders, Inc.




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